             Case 2:07-cr-00248-WBS Document 1148 Filed 08/09/12 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   LAW OFFICE OF JOHN R. MANNING
 2
     1111 “H” Street, Suite 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     SOPHIA SANCHEZ
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                      )       CR NO. S-07-0248-24 WBS
10
                                                    )
                                                    )
11          Plaintiff,                              )       ORDER CONTINUING SENTENCING
                                                    )
12
     v.                                             )       Date: October 1, 2012
                                                    )       Time: 9:30 a.m.
13
     SOPHIA SANCHEZ,                                )       Judge: Hon. William B. Shubb
                                                    )
14
                                                    )
            Defendant.                              )
15
                                                    )
                                                    )
16
                                                    )
17
     The parties hereby stipulate the following:
18
            1. Judgment and sentencing in this matter is presently set for August 13, 2012. Counsel
19
                for the parties requests the date for judgment and sentencing be continued to
20
                October 1, 2012 at 9:30am. The continuance is needed to allow the parties additional
21
                time to address matters concerning defendant’s sentencing.
22
            2. The parties requests the court adopt the following schedule pertaining to the
23
                presentence report:
24
                Judgment and Sentencing date:                                     10/1/12
25
                Reply, or Statement of Non-Opposition:                            9/24/12
26

27              Motion for Correction of the Presentence Report
                Shall be filed with the Court and served on the
28              Probation Officer and opposing counsel no later than:             9/17/12


                                                        1
            Case 2:07-cr-00248-WBS Document 1148 Filed 08/09/12 Page 2 of 3



 1
     Dated: August 8, 2012                           /s/ John R. Manning
 2                                                  JOHN R. MANNING
                                                    Attorney for defendant
 3                                                  Sophia Sanchez
 4

 5                                                  Benjamin B. Wagner
                                                    United States Attorney
 6

 7
     Dated: August 8, 2012                           /s/ Jason Hitt
                                                    JASON HITT
 8                                                  Assistant United States Attorney
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                           2
             Case 2:07-cr-00248-WBS Document 1148 Filed 08/09/12 Page 3 of 3


     JOHN R. MANNING (SBN 220874)
 1   LAW OFFICE OF JOHN R. MANNING
 2
     1111 “H” Street, Suite 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     SOPHIA SANCHEZ
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                      ) CR NO. S-07-0248 WBS
10                                                  )
                                                    )
             Plaintiff,                             ) ORDER CONTINUING SENTENCING
11
                                                    )
12   v.                                             )
                                                    )
13   SOPHIA SANCEZ,                                 )
                                                    )
14                                                  )
             Defendant.                             )
15                                                  )
                                                    )
16                                                  )

17

18
            GOOD CAUSE APPEARING, it is hereby ordered that the date for the judgment and
19
     sentence of defendant Sophia Sanchez be continued from August 13, 2012 to October 1, 2012.
20

21
     The court hereby adopts the schedule concerning the presentence report as stipulated to by the

22   parties and set forth herein.
23

24

25   DATED: August 9, 2012
26

27

28




                                                     3
